                      Case 1:21-mj-00617-RMM Document 19 Filed 12/12/21 Page 1 of 2



 1
 2                                           UNITED STATES DISTRICT COURT
 3
 4
                                             FOR THE DISTRICT OF COLUMBIA
 5
 6
 7   UNITED STATES OF AMERICA,                                Case No.: 1:21-mj-00617-9002 RMM
 8
 9
10
                                v.
11                                                            MOTION TO AMEND CONDITIONS
12
13
                                                              OF RELEASE (RELOCATION TO
14   ALEXIS BUSTOS,                                           ANOTHER DISTRICT)
15
16                                     Defendant
17
18
19                              COMES NOW, Alexis Bustos, through counsel, Joseph R. Conte, to
20
21   respectfully request this honorable court to amend his conditions of release to
22
23
24   permit him to relocate to Santa Barbara, California 1 and report to the Pretrial
25
26   Services Agency for the Central District of California. As grounds for this motion
27
28
     counsel would state:

                                1. Mr. Bustos is on release and living in Denver, Colorado.

                                2. For personal reasons, Mr. Bustos desires to relocate to his parents

     home in Santa Barbara, California.

                                3. Mr. Bustos’ current conditions of release require that he report to

     the Pretrial Services Agency for the District of Colorado.




     1
      Counsel can provide the exact address as required. The address is the same address, and family
     home, of the co-defendant.
         Notice of Appearance                                                Law Office of Joseph R. Conte
         U.S. v. HATLEY; Cr. #1:21-mj-00617 RMM-2                            400 Seventh St., N.W. #206
                                                                             Washington, D.C. 20004
         Page -1-                                                            202.638.4100
                                                                             dcgunlaw@gmail.com
         AMEND COR 21/12/12 08:01:51
                  Case 1:21-mj-00617-RMM Document 19 Filed 12/12/21 Page 2 of 2



 1                          4. The Pretrial Services Agency for the District of Colorado cannot
 2
 3
 4   supervise a defendant in a different district and counsel has been advised by the
 5
 6   Pretrial Service Agency officer that a motion is required to transfer supervision.
 7
 8
 9                          5. The Pretrial Services Agency officer does not oppose the transfer.
10
11                          6. The government does not oppose the relocation and transfer if not
12
13
14   opposed by the Pretrial Services Agency.
15
16                          WHEREFORE, counsel respectfully requests that this motion be
17
18
19   granted.
20
21   Dated: December 12, 2021
22
23
24                                                           Respectfully submitted,
25
26
27                                                Joseph___________________________
                                                         R. Conte Digitally   signed by Joseph R. Conte
                                                                      Date: 2021.12.12 08:02:20 -05'00'
28
                                                             Joseph R. Conte, Bar #366827
                                                             Counsel for Alexis Bustos
                                                             Law Office of J.R. Conte
                                                             400 Seventh St., N.W., #206
                                                             Washington, D.C. 20004
                                                             Phone:202.638.4100
                                                             Fax:         202.628.0249
                                                             E-mail:      dcgunlaw@gmail.com




     Notice of Appearance                                                Law Office of Joseph R. Conte
     U.S. v. HATLEY; Cr. #1:21-mj-00617 RMM-2                            400 Seventh St., N.W. #206
                                                                         Washington, D.C. 20004
     Page -2-                                                            202.638.4100
                                                                         dcgunlaw@gmail.com
     AMEND COR 21/12/12 08:01:51
